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                      Exhibit B
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                                          THE DES MOINES REGISTER/MEDIACOM IOWA POLL

Study #2287                                                                                             SELZER & COMPANY
808 Iowa likely voters in the 2024 general election                                                     October 28-31, 2024
Margin of error: ±3.4 percentage points                      1,038 contacts weighted by age, sex, and congressional district

                                      Percentages may not add to 100% due to rounding.

          How likely is it you will vote in the November general election for president and other offices—will you
          definitely vote, probably vote, might or might not vote, or probably not vote, or have you already cast a ballot in
          early voting or by absentee ballot? (Based on general population contacts.)
                      Already voted
                       + Definitely       Already         Definitely         Probably          Might or            Probably      Refused/
                          vote             voted            vote               vote          might not vote        not vote      Not sure

n=1038    Oct-24           81               26                55                 7                  4                  7            1
n=811     Sep-24            81              n/a               81                 9                  5                  4             1
n=806     Jun-24            76              n/a               76                11                  5                  7             -
n=804     Feb-24            75              n/a               75                13                  4                  8             -
n=805     Mar-23            77              n/a               77                12                  5                  4             1
n=810     Nov-21            79              n/a               79                12                  4                  4             -

How likely is it you will vote in the November general election for president and other offices—will you definitely vote,
probably vote, might or might not vote, or probably not vote, or have you already cast a ballot in early voting? (Based on
likely voters in the 2024 general election.)
            Already          Definitely       Probably          Might or        Probably not            Refused/
             voted             vote             vote          might not vote        vote                Not sure

 Oct-24        32                68                 -                  -                 -                  -
 Oct-20        51                49                 -                  -                 -                  -
Nov-16         34                66                 -                  -                 -                  -
Nov-12         42                58                 -                  -                 -                  -
Oct-08         28                72                 -                  -                 -                  -




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(If already voted, ask:) In the election for president, for whom did you vote—[Kamala Harris for the Democrats],
[Donald Trump for the Republicans], [Robert F. Kennedy, Jr. for We the People], [Chase Oliver for the
Libertarians], or someone else? (Rotate candidate names.) (If already voted and not sure, ask:) Do you just
not want to tell, or do you not remember? (Then code “Mind is made up” and skip to Q.3.)
(If definitely vote, ask:) If the election for president were held today and the candidates were [Kamala Harris for
the Democrats], [Donald Trump for the Republicans], [Robert F. Kennedy, Jr. for We the People], and [Chase
Oliver for the Libertarians], for whom would you vote—[Kamala Harris], [Donald Trump], [Robert F. Kennedy,
Jr.], [Chase Oliver], for someone else, or would you not vote? (Rotate candidate names.)
(If definite voter names a candidate, skip leaning question and ask if mind is made up.
If definite voter doesn’t name a candidate, continue to leaning question.)
(Ask only of definite voters who do not name a candidate): Toward which candidate would you say you are
leaning, or support the most? (If respondent names a candidate, code as “Could be persuaded” and do not
ask.)
                                                             Q.2a                    Q.2b
                                                            Choice                  Leaning               Total

Kamala Harris                                                 46                       1                   47
Donald Trump                                                  43                       1                   44
Robert F. Kennedy, Jr.                                         2                       1                    3
Chase Oliver                                                   -                       -                    -
Someone else                                                   1                       -                    1
Would not vote                                                 1                       -                    -
Not sure/do not remember                                       4                       2                    3
Don’t want to tell (Already voted only)                        2                      n/a                   2

Based on likely voters in the 2024 general election. Question language differed slightly in past polls.
                                                           Robert F.
           Sample         Margin     Kamala   Donald       Kennedy,        Chase        Someone     Would not         Not
            size          of error   Harris   Trump           Jr.          Oliver         else        vote            sure
  Sep-24   n=656     ±3.8% pts.        43       47               6            1               1            -            1

Based on likely voters in the 2024 general election, with Biden as the Democratic candidate.
                                                           Robert F.
           Sample         Margin      Joe     Donald       Kennedy,        Chase        Someone     Would not         Not
            size          of error   Biden    Trump           Jr.          Oliver         else        vote            sure
  Jun-24   n=632     ±3.9% pts.        32        50              9            2               3            1            3

Would you say your mind is made up to support that candidate, or could you still be persuaded to support a
different candidate? (Based on likely voters in the 2024 general election.)
                                     Sample    Margin            Mind is          Could be        Not          No preferred
             Presidential race        size     of error          made up         persuaded        sure          candidate

 Oct-24             All              n=808    ±3.4% pts.    91               7                -                2
 Sep-24             All              n=656    ±3.8% pts.    80               18               -                2
 Jun-24             All              n=632    ±3.9% pts.    67               29               -                3

 Oct-24     Harris supporters        n=378    ±5.0% pts.    96               4                -                n/a
 Sep-24      Harris supporters       n=277    ±5.9% pts.    89               11               -                n/a
 Jun-24      Biden supporters        n=231    ±6.5% pts.    81               19               -                n/a

 Oct-24     Trump supporters         n=358    ±5.2% pts.    95               4                -                n/a
 Sep-24      Trump supporters        n=315    ±5.5% pts.    84               16               -                n/a
 Jun-24      Trump supporters        n=307    ±5.6% pts.    76               24               -                n/a



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How would you describe your level of enthusiasm for your preferred candidate‒are you extremely enthusiastic,
very enthusiastic, mildly enthusiastic, or not that enthusiastic? (Based on likely voters in the 2024 general
election.)

                                              Extremely+     Mildly+                                                                                                                        No
           Presidential Sample     Margin        Very       Not that     Extremely      Very        Mildly      Not that    Not                                                          preferred
              race        size     of error   Enthusiastic Enthusiastic Enthusiastic Enthusiastic Enthusiastic Enthusiastic Sure                                                         candidate


 Oct-24       All        n=808 ±3.4% pts.           68              29                     36                     32                       20                      9                 1               2
Sep-24*       All        n=656 ±3.8% pts.             71               27                   31                      40                     22                      5                 -               2
 Oct-24      Harris      n=378 ±5.0% pts.           71              29                     37                      34                      21                      8                 -       n/a
Sep-24*      Harris      n=277 ±5.9% pts.             80               20                   34                      46                     18                      2                 -          n/a

 Oct-24      Trump       n=358 ±5.2% pts.           76              23                     40                      35                      16                      7                 1       n/a
Sep-24*      Trump       n=315 ±5.5% pts.             74               26                   33                      40                     22                      4                 -          n/a
*Sep-24 wording: How would you describe your level of enthusiasm for your first-choice candidate [name]‒are you extremely enthusiastic, very
enthusiastic, mildly enthusiastic, or not that enthusiastic?

Which ONE of the following have you been thinking about most in your decision to support [KAMALA HARRIS/
DONALD TRUMP]? (Fill in name of preferred candidate. Read list. Rotate. Based on 2024 likely voters who
support Harris or Trump.)




                                                                                                  preferred party is in




                                                                                                                                            American assistance
                                                                                                                                            to countries at war,
                                                                                                                                            such as Israel and
                                                                              Inflation and the




                                                                                                  the White House
                                                                                                  Making sure my




                                                                                                                           The future of




                                                                                                                                                                       Other (VOL)
                                                             Immigration




                                                                                                                           democracy
                                                  Abortion




                                                                              economy




                                                                                                                                                                                          Not sure
                                                                                                                                            Ukraine
         Presidential   Sample    Margin
            race          size    of error

Oct-24     Harris       n=378    ±5.0% pts.       22          2                   7                         9                 51                      3                      4                2
Oct-24    Trump         n=358    ±5.2% pts.        4         25                  49                         2                 11                      3                      4                1




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         Was there ever a time you supported Donald Trump? (Based only on 2024 likely voters who do not support
         Trump; n=450. MoE: ±4.6% pts.)
                     Yes        No      Not sure

         Oct-24     16        81          3
         Do you consider yourself a never-Trumper, or not? (Based only on 2024 likely voters who do not support
         Trump; n=450. MoE: ±4.6% pts
                     Yes        No      Not sure

         Oct-24      67         26          8


Compared to:
Study #2286                                                                                         September 8-11, 2024
811 Iowa adults,                                                         Weighted by age, sex, and congressional district
   including 656 likely voters in the 2024 general election
Margin of error: ± 3.4 percentage points for all Iowa adults
   Margin of error: ± 3.8 percentage points for likely voters

Study #2284                                                                                              June 9-14, 2024
806 Iowa adults,                                                         Weighted by age, sex, and congressional district
   including 632 likely voters in the 2024 general election
Margin of error: ± 3.5 percentage points for all Iowa adults
   Margin of error: ± 3.9 percentage points for likely voters

Study #2282                                                                                         February 25-28, 2024
804 Iowa adults,                                                         Weighted by age, sex, and congressional district
   including 640 likely voters in the 2024 general election
Margin of error: ± 3.5 percentage points for all Iowa adults
   Margin of error: ± 3.9 percentage points for likely voters

Study #2267                                                                                             March 5-8, 2023
805 Iowa adults,                                                         Weighted by age, sex, and congressional district
   including 643 likely voters in the 2024 general election
Margin of error: ± 3.5 percentage points for all Iowa adults
   Margin of error: ± 3.9 percentage points for likely voters

Study #2248                                                                                         November 7-10, 2021
810 Iowa adults,                                                         Weighted by age, sex, and congressional district
   including 658 likely voters in the 2024 general election
Margin of error: ± 3.4 percentage points
   Margin of error: ± 3.8 percentage points for likely voters


                                                   About the Poll

The Iowa Poll, conducted October 28-31, 2024, for The Des Moines Register and Mediacom by Selzer & Co. of Des
Moines, is based on telephone interviews with 808 Iowans ages 18 or older who say they will definitely vote or have
already voted in the 2024 general election for president and other offices.

Interviewers with Quantel Research contacted 1,038 Iowa adults with randomly selected landline and cell phone numbers
supplied by Dynata. Interviews were administered in English. Responses were adjusted by age, sex, and congressional
district to reflect the general population based on recent census data.

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Questions based on the sample of 808 Iowa likely voters have a maximum margin of error of plus or minus 3.4
percentage points. This means that if this survey were repeated using the same questions and the same methodology, 19
times out of 20, the findings would not vary from the true population value by more than plus or minus 3.4 percentage
points. Results based on smaller samples of respondents—such as by gender or age—have a larger margin of error.

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